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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

____________________________________

IN RE: INVOKANA (CANAGLIFLOZIN)                    :   MDL NO. 2750
PRODUCTS LIABILITY LITIGATION                      :   Master Docket No. 3:16-md-2750
                                                   :
Lisa C. Schmieg,                                   :   JUDGE BRIAN R. MARTINOTTI
                                                   :   JUDGE LOIS H. GOODMAN
      Plaintiff(s),                                :
                                                   :   DIRECT FILED COMPLAINT
vs.                                                :   PURSUANT TO CASE MANAGEMENT
                                                   :   ORDER NO. 4
Janssen Pharmaceuticals Inc.,                      :
Janssen Research & Development LLC,                :   Civil Action No.: 3:17-cv-04129-BRM-LHG
Johnson & Johnson, Janssen Ortho LLC               :
                                                   :
  Defendants.                                      :
_____________________________________              :

            STIPULATION AND ORDER OF DISMISSAL WITHOUT PREJUDICE

          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff in the above-

captioned case, Lisa C. Schmieg, and the above-named Defendants, Janssen Pharmaceuticals, et

al., through their respective undersigned counsel, that this case is hereby dismissed without

prejudice, pursuant to Fed. R. Civ. P. 41(a). Each party is to bear its own costs and attorneys’ fees.
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LEVIN, PAPANTONIO, THOMAS                    DRINKER BIDDLE & REATH LLP
MITCHELL, RAFFERTY & PROCTOR,
P.A.


BY:     s/ Thomas A. Taylor________          BY:    s/ Michael C. Zogby
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Attorney for Plaintiff                       Attorney for Defendants




SO ORDERED.

Date:
                                            HON. BRIAN MARTINOTTI
